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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MAZEN ALI, individually and on behalf  §
of all others similarly situated,      §
                                       §
        Plaintiff,                     §
                                       §
v.                                     §
                                       §                     Cause No. 4:20-cv-02605
THE TEXAS A&M UNIVERSITY               §
SYSTEM, and ELAINE MENDOZA, TIM §
LEACH, PHIL ADAMS, ROBERT L.           §
ALBRITTON, JAY GRAHAM,                 §
MICHAEL A. HERNANDEZ III, BILL         §
MAHOMES, MICHAEL J. PLANK, and §
CLIFF THOMAS, in their official        §
capacities as members of The Texas A&M §
University System Board of Regents,    §
                                       §
        Defendants.                    §

                      PLAINTIFF’S FIRST AMENDED COMPLAINT

       Plaintiff Mazen Ali (“Plaintiff”) brings this action against The Texas A&M University

System (the “A&M System”) and Elaine Mendoza, Tim Leach, Phil Adams, Robert L. Albritton,

Jay Graham, Michael A. Hernandez III, Bill Mahomes, Michael J. Plank, and Cliff Thomas, in

their official capacities as members of the Board of Regents of the A&M System (collectively with

the A&M System, “Defendants”), and alleges as follows based upon information and belief, except

as to the allegations specifically pertaining to him, which are based on personal knowledge.
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                                  I.    NATURE OF THE ACTION

        1.        This is a class action lawsuit on behalf of all persons who paid or will pay tuition

to attend one of the universities in the A&M System 1 (collectively, the “Universities”) for an in-

person, hands-on education for the Spring 2020 semester and any Summer 2020 semester, and had

their course work moved to remote online learning. Such persons paid all or part of the tuition for

the Spring 2020 semester and Summer 2020 semesters that ranged from approximately $386.83

per credit hour to $1,603.27 per credit hour for an undergraduate student and $506.33 per credit

hour to $1,706.15 per credit hour for a graduate student. Tuition includes the payment of

mandatory fees (the “Mandatory Fees”).

        2.        Beginning in March 2020, as a response to the COVID-19 pandemic, the

Universities moved to online instruction and ceased or severely limited on-campus services,

facilities, and activities. Even though the Universities cancelled in-person classes and failed to

provide the in-person services that the Mandatory Fees were intended to cover, the Universities

have not refunded to students any amount of the tuition or Mandatory Fees.

        3.        In short, A&M Students (as defined below) have paid substantial sums to the

Universities for a first-rate education and educational experience, with all the appurtenant benefits

offered by a first-rate university, but have been provided a materially deficient and insufficient

alternative, which alternative constitutes a decrease in value as compared to what was originally

contracted for.




         1
                  The 11 universities in the A&M System are: (1) Texas A&M University; (2) Prairie View A&M
University; (3) Texas A&M University-Commerce; (4) Tarleton State University; (5) West Texas A&M University;
(6) Texas A&M University-Kingsville; (7) Texas A&M University-Corpus Christi; (8) Texas A&M International
University; (9) Texas A&M University-Texarkana; (10) Texas A&M University-Central Texas; and (11) Texas A&M
University-San Antonio.


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       4.      In effect, the Universities have unlawfully seized and are in possession of property

(funds) of A&M Students in the form of paid tuition and Mandatory Fees.

       5.      Plaintiff seeks, individually and on behalf of all other students similarly situated,

just compensation for (i) the taking of tuition and Mandatory Fees proportionate to the amount of

time that remained in the Spring 2020 semester when the Universities switched to online distance

learning and stopped providing contracted-for services, (ii) the taking of tuition and Mandatory

Fees for the Summer 2020 course offerings, which are being delivered online only, and (iii) the

taking of tuition and Mandatory Fees for any other semesters affected by COVID-19.

       6.      Plaintiff’s counsel has submitted Texas Public Information Act requests to each of

the Universities and the Board of Regents of the A&M System (the “Board of Regents”) in order

to, inter alia, gain access to the internal communications regarding issuing potential refunds and

reimbursements to students and the ultimate denial of same. If any information received proves

relevant, Plaintiff shall amend its pleadings to incorporate.

                                          II.    PARTIES

       7.      Plaintiff Mazen Ali is an individual who resides at 9737 Amberton Parkway

Apartment 1025, Dallas, Texas 75243. He paid to attend the Spring 2020 semester at Texas A&M

University (“TAMU”) as a full-time undergraduate student.

       8.      Plaintiff paid tuition and Mandatory Fees for the Spring 2020 semester to enable

him to obtain an in-person, on-campus educational experience and to participate in the activities

and utilize the services traditionally accessible to students on campus. He has not been provided

just compensation or a pro-rated refund of the tuition or Mandatory Fees for his in-person classes

that were discontinued and moved online or the diminution or cessation of educational enrichment

experiences associated with his in-person classes and on-campus college experience.




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        9.       Plaintiff now seeks to represent both himself and a Class (as defined below) of

similarly situated students (or their parents/ other benefactors) who paid to attend any of the

Universities during the Spring 2020 semester and the Summer 2020 semesters. Mr. Ali and the

Class he seeks to represent will be referred to herein as “A&M Students.”

        10.      The A&M System is a state agency. 2 Universities that comprise the A&M System

enroll more than 153,000 students from across the country. 3 Its principal place of business is

located at 301 Tarrow Street, College Station, TX 77840. The A&M System is represented by

counsel and has waived service of a summons in this action.

        11.      The A&M System is governed by a Board of Regents. TEX. EDUC. CODE ANN. §

85.11. The Board of Regents is comprised of nine members who are appointed by the Governor

of Texas and confirmed by the Texas Senate. Id.

        12.      Defendants Elaine Mendoza, Tim Leach, Phil Adams, Robert L. Albritton, Jay

Graham, Michael A. Hernandez III, Bill Mahomes, Michael J. Plank, and Cliff Thomas are being

sued in their official capacities as members of the Board of Regents. The individual Defendants

are represented by counsel, and each individual Defendant has waived service of a summons in

this action.

                                  III.    JURISDICTION AND VENUE

        13.      The Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least one member

of the Class is a citizen of a different state than Defendants, there are more than 100 members of



          2
                   TEX. GOV'T CODE ANN. § 572.002 (defining “state agency” to include “a university or an institution
of higher education as defined by Section 61.003, Education Code”); TEX. EDUC. CODE ANN. § 61.003 (defining
“institution of higher education” to include The Texas A&M University System).
        3
                 Total Texas A&M University System Enrollment, https://www.tamus.edu/system/total-texas-am-
university-system-enrollment/ (last visited July 14, 2020).


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the Class, and the aggregate amount in controversy exceeds $5,000,000 exclusive of interests and

costs.

         14.     This Court has personal jurisdiction over Defendant A&M System because it

maintains its principal place of business in the Southern District. This Court has personal

jurisdiction over the individual defendants because all members of the Board of Regents are

citizens of the State of Texas. See TEX. EDUC. CODE ANN. § 85.12 (providing that each member of

the Board of Regents “shall be selected from different portions of the state”).

         15.     Venue is proper pursuant to 28 U.S.C. § 1391 because a substantial part of the

events or omissions giving rise to the claims occurred, or a substantial part of property that is the

subject of this action is situated, in the Southern District. Further, Section 85.18 of the Texas

Education Code mandates that venue for a suit filed against a member of the Board of Regents in

the member’s official capacity lies in Brazos County (located in the Southern District) and venue

for a suit filed against the A&M System lies in the county in which the system is located (Brazos

County).

                                  IV.     FACTUAL ALLEGATIONS.

         16.     Plaintiff and the other members of the Class paid tuition, including Mandatory Fees,

to attend the Spring 2020 semester and/or any of the Summer 2020 semesters at the Universities.

         17.     The Spring 2020 semester at TAMU began on or around January 13, 2020 and

ended on or around May 5, 2020.4 The Summer 2020 classes at TAMU began on or about May

26, 2020 and ended on or about August 3, 2020. Id.




         4
                University        Academic           Calendar,   https://registrar.tamu.edu/Catalogs,-Policies-
Procedures/Academic-Calendar (last visited July 14, 2020).



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        18.      Tuition and Mandatory Fees at TAMU for the Spring 2020 semester for an

undergraduate student ranged from approximately $612.20 per credit hour to $1,603.27 per credit

hour, depending on the program of enrollment and student’s state of residency. 5

        19.      Tuition and Mandatory Fees at TAMU for the Spring 2020 semester for a graduate

 student ranged from approximately $662.20 per credit hour to $1,706.15 per credit hour,

 depending on the program of enrollment and student’s state of residency. Id.

        20.      Tuition and Mandatory Fees at TAMU for undergraduate students for Summer

 2020 are as follows: 6




        21.      Tuition and Mandatory Fees at TAMU for graduate students for Summer 2020 are

as follows: 7




        5
                 Texas A&M Tuition Calculator, https://tuition.tamu.edu/ (last visited July 14, 2020).
        6
                Cost    of     Attendance,      https://financialaid.tamu.edu/Undergraduate/Cost-of-Attendance#0-
CollegeStationUndergraduate (last visited July 14, 2020).
        7
                Cost           of             Attendance,           https://financialaid.tamu.edu/Graduate/COA#0-
CollegeStationGraduateStudents (last visited July 14, 2020).



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        22.    The Mandatory Fees at TAMU consist of the following: (i) College Advancement

Fee; (ii) Cooperative Education Fee; (iii) Distance Education Administration and Teaching Fees;

(iv) Field Trip Fees; (v) Health Center; (vi) International Student Services (ISS) Fee; (vii)

International Health Insurance; (viii) Laboratory; (ix) Orientation Fees; (x) Program Fees; (xi)

Sponsored International Students; (xii) Student Recreation Center; (xiii) Student Center Complex;

(xiv) University Advancement Fee; (xv) Musical Activities Facility Performance Fee; and (xvi)

Greek Dues Fee. 8

        23.    Plaintiff and/or the members of the Class paid all or part of the applicable tuition

and Mandatory Fees for the benefit of on-campus, live, interactive instruction and an on-campus

educational experience throughout the entire semester. 9

A.      In response to the COVID-19 pandemic, the Universities closed campus, preventing
        access to their facilities, services, and housing, and cancelled all in-person classes and
        activities.


        8
               Billing Explanations, https://sbs.tamu.edu/billing-payments/billing-explanations/ (last visited July
14, 2020).
        9
                 Tuition and Mandatory Fees vary slightly among universities in the TAMU System but are
approximately the same as TAMU.



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        24.      In response to the COVID-19 pandemic, TAMU created a new section for its

website to provide updates and answer frequently asked questions. 10

        25.      On March 10, 2020, TAMU announced that after spring break, classes would be

suspended from March 16 and resume on March 18, “to allow for planning and logistics to ensure

the provision of all university services in the most efficient, effective and safest way.”11

        26.      On March 12, 2020, TAMU announced that classes would be cancelled from March

16 through March 20, and that classes resuming on March 23 would be online only. TAMU further

announced that meetings and events would be restricted to a maximum of 50 people and that

athletics would be cancelled through March 30. 12

        27.      On March 13, 2020, TAMU announced that athletics would be suspended through

April 15 and that the library would be closed effective March 14. 13

        28.      On March 17, 2020, TAMU announced that the Spring 2020 graduation ceremonies

would be postponed and that final examinations for the Spring 2020 semester would not be taken

in person, but instead offered online.14 TAMU also announced that Family Weekend, a “101-year-

old tradition filled with dozens of events scheduled for April,” and Aggie Ring Day would also be

cancelled. Id.




        10
                 COVID-19 Guidance, https://www.tamu.edu/coronavirus/index.html (last updated July 10, 2020).
        11
                 Message from the Provost, https://www.tamu.edu/coronavirus/messages/tamu-classes-resume-on-
march-18-faculty-and-staff-as-planned-on-march-16.html (last updated Mar. 10, 2020).
        12
                 Message from the Provost, https://www.tamu.edu/coronavirus/messages/tamu-classes-canceled-
until-march-20.html (Mar. 12, 2020).
         13
                  Message from the Provost, https://www.tamu.edu/coronavirus/messages/march-13th-update.html
(last updated Mar. 13, 2020).
        14
                  Texas A&M Spring Graduation Ceremonies Postponed, Finals Go Online, Family Weekend
Canceled, https://www.tamu.edu/coronavirus/messages/march-13th-update.html (Mar. 17, 2020).



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        29.     On March 20, 2020, TAMU confirmed that classes would be conducted online from

March 23 through May 10, with final examinations conducted online. 15

        30.     On March 21, 2020, TAMU announced it would change the traditional letter

grading system to a more lenient Satisfactory/Unsatisfactory (S/U) grading system for all Spring

2020 graduate and undergraduate courses, if chosen by the student. 16

        31.     On March 23, 2020, TAMU acknowledged Brazos County’s shelter in place orders

and encouraged students to return home. The announcement also provided that dining would be

take-out only and that medical and essential services and academic affairs support would be

provided virtually. 17

        32.     On March 25, 2020, TAMU announced that all academic and support services

would be offered virtually to the extent possible. Acknowledging that the remote online program

is subpar and not as seamless or effective as in-person lectures, TAMU stated:




                                                                                                        18



        33.     On March 26, 2020, TAMU announced that all courses in the first summer term,

the 10-week summer term, and the May “minimester” would be delivered online only. In tacit


        15
                Travel, Meeting and Event Updates, https://www.tamu.edu/coronavirus/messages/march-20-travel-
meeting-and-event-updates.html (Mar. 20, 2020).
        16
                 Message from the President & Provost, https://www.tamu.edu/coronavirus/messages/temporary-
changes-to-grading-q-drop-and-withdrawal-deadlines.html (Mar. 21, 2020).
        17
                Urgent Housing Guidance,          https://www.tamu.edu/coronavirus/messages/march-23-urgent-
housing-guidance.html (updated Mar. 23, 2020).
        18
                  Message from President Young, https://www.tamu.edu/coronavirus/messages/march-25-welcome-
back-to-classes-this-week.html (Mar. 25, 2020).



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acknowledgment that certain fees are not fairly administered when education is provided through

remote online formats, TAMU stated that, “[i]n an effort to help students, distance education

differential tuition will not be charged for online courses this summer at an individual course

level.” 19

        34.     On April 3, 2020, TAMU announced that all courses in the first, second, and 10-

week summer terms (including the May “minimester”) would be delivered online only. 20

        35.     TAMU has not held any in-person classes since March 6, 2020, just before the

commencement of its spring break. Classes that have continued since March 6, 2020 have been

offered in a remote online format only, with no in-person instruction or interaction. Further, many

organizations, clubs, and other enrichment activities were substantially diminished or cancelled in

this same time period.

        36.     TAMU has also unilaterally reduced the amount of education that its students paid

tuition for by entirely cancelling classes the week after spring break.

        37.     Based on information and belief, under the guidance and policies of the Board of

Regents, each of the Universities responded to COVID-19 in a significantly similar manner.

B.      The Universities’ online courses are subpar to in-person instruction, which A&M
        Students contracted with the Universities to receive by paying tuition.

        38.     Students attending the Universities, such as Plaintiff and the other Class members

chose to enroll in the Universities’ in-person educational programs—not an online degree program.

        39.     On its website, TAMU markets its on-campus experience as a benefit of enrollment:




       19
               Plans for Summer 2020 Course Offerings, https://www.tamu.edu/coronavirus/messages/plans-for-
summer-2020-course-offerings.html (Mar. 26, 2020).
        20
                Message from the Provost, https://www.tamu.edu/coronavirus/messages/april-3-online-delivery-
for-summer-courses.html (Apr. 3, 2020).



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         40.      Similarly, the other Universities in the A&M System market their on-campus

experiences as a benefit of enrollment, including through the following examples:


         21
                  Student Life, https://www.tamu.edu/student-life/index.html (last visited July 14, 2020).
         22
                  Student     Clubs      &     Organizations,   https://www.tamu.edu/student-life/index.html#clubs-
organizations-recreation (last visited July 14, 2020).
         23
                  Campus Attractions, https://www.tamu.edu/about/attractions/index.html (last visited July 14, 2020).



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Prairie View A&M University:




                                                                                                           24



Texas A&M University-Texarkana:




                                                                                                           25



Texas A&M University-Commerce:




                                                                                                          26




       24
               Campus Life, https://www.pvamu.edu/campus-life/ (last visited July 14, 2020).
       25
               Campus Life, https://www.tamut.edu/Campus-Life/index.html (last visited July 14, 2020).
       26
                Campus                   Life          &               Student                           Success,
http://www.tamuc.edu/CampusLife/?loc=topMenu&_ga=2.36830240.1213176153.1594389341-
2046328868.1594389341 (last visited July 14, 2020).


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       41.     The online learning options being offered by the Universities are subpar in

practically every aspect as compared to the educational experience provided to Plaintiff and the

members of the Class before the COVID-19 pandemic. During the online portion of the semesters,

the Universities offered some classes through Zoom. Other classes, however, stopped providing

any lectures whatsoever and only provided reading and homework assignments for the students to

self-learn. Therefore, there was a lack of classroom interaction among teachers and students and

among students, which is instrumental in interpersonal skill development.

       42.     Further, many student organizations, events, clubs, and athletics—an essential

element of the on-campus academic experience offered by the Universities—were substantially

curtailed, cancelled, or effectively cancelled as a result of campus closures.

       43.     The online formats being used by the Universities do not require memorization or

the development of strong study skills, given the absence of any possibility of being called on in

class and the ability to consult books and other materials when taking exams. Further, the ability

to receive a Satisfactory/Unsatisfactory grade rather than a letter grade, and the lack of mandatory

attendance, provides educational leniency that the students would not otherwise have with in-

person classes and the letter-grading system that students paid for and expected.

       44.     Students have been deprived of the opportunity for collaborative learning and in-

person dialogue, feedback, and critique. Students have also been deprived of the opportunity to

participate in student organizations, clubs, and recreational activities that are typically offered to

students on campus.

       45.     Access to facilities such as libraries, laboratories, computer labs, gymnasiums, and

study rooms are also integral to a college education. And access to the myriad activities offered by

campus life fosters social development, independence, and networking for future careers—all




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substantial and materials parts of the basis upon which the Universities can charge the tuition and

Mandatory Fees.

        46.     The University has regularly marketed and touted the on-campus and in-person

educational services, opportunities, and experiences it previously provided to entice students, like

Plaintiffs, to enroll.

        47.     The Universities have not made any refund of any portion of the tuition of

Mandatory Fees that A&M Students paid for the Spring 2020 semester or Summer 2020 semesters

for the period it moved to subpar online distance learning.

        48.     Defendants are obligated to uphold the Texas and United States Constitutions. By

denying A&M Students in-person learning and on-campus benefits and opportunities, Defendants

have violated the Article I, §§ 17 and 19 of the Texas Constitution and the Fifth and Fourteenth

Amendments of the U.S. Constitution. A&M Students are entitled to a pro-rated refund of tuition

and Mandatory Fees for the duration of the Universities’ COVID-19-related closures for the in-

person education and on-campus services and opportunities that A&M Students have been denied.

        49.     Further, Defendants are obligated to provide due process and just compensation in

future semesters, including by offering discounts and credits for future semesters affected by

COVID-19.

                            V.     CLASS ACTION ALLEGATIONS

        50.     Plaintiff brings this case individually and, pursuant to Rule 23 of the Federal Rules

of Civil Procedure, on behalf of the class defined as:

        All students who paid, or other persons who paid on a student’s behalf, tuition and
        mandatory fees to any of the eleven universities that comprise The Texas A&M
        University System in order for the student to attend in-person class(es) during the
        semesters affected by COVID-19, including the Spring 2020 semester and any of
        the Summer 2020 semesters at the Universities, but which class(es) were delivered
        as online only.



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        51.     Excluded from the Class are the A&M System, its subsidiaries and affiliates, any

entity in which the A&M System may exert its control over, and the A&M System’s officers,

directors, legal representatives, successors, and assigns.

        52.     Also excluded from the Class are Defendants Elaine Mendoza, Tim Leach, Phil

Adams, Robert L. Albritton, Jay Graham, Michael A. Hernandez III, Bill Mahomes, Michael J.

Plank, and Cliff Thomas, members of their immediate families and their legal representatives,

heirs, successors, and assigns.

        53.     Also excluded from the Class are any judicial officer presiding over this matter,

members of their immediate families and members of their judicial staff.

        54.     Plaintiff reserves the right to modify or amend the definition of the proposed Class,

including by proposing subclasses, based upon discovery and further investigation.

        55.     This action has been brought and may properly be maintained on behalf of the Class

proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

        56.     Rule 23(a)(1)–Numerosity. The requirements of Rule 23(a)(1) have been met,

because the Class is so numerous that joinder of all members is impracticable. Although the

precise number of Class members is unknown to Plaintiff, the Universities have collectively

reported that 150,645 students were enrolled in Fall 2020. 27 The number of students enrolled in

the Summer 2020 semesters is unknown to Plaintiff. The identity of all such students is known to

the Universities and can be identified through the Universities’ records. Class members may be

notified of the pendency of this action by recognized, Court-approved notice dissemination

methods, which may include U.S. Mail, electronic mail, Internet postings, and/or published notice.



        27
                 Total Texas A&M University System Enrollment, https://www.tamus.edu/system/total-texas-am-
university-system-enrollment/ (last visited July 14, 2020).


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       57.     Rule 23(a)(2)—Commonality. The requirements of Rule 23(a)(2) have been met.

There are questions of law and fact common to the members of the Class including, without

limitation:

       a.      Whether the Universities accepted the payment of tuition and Mandatory Fees from
               Plaintiff and other members of the Class in exchange for the promise to provide an
               in-person, on-campus education and access to certain on-campus facilities,
               organizations, and services throughout the semester;

       b.      Whether Defendants complied with constitutional requirements for seizing and
               retaining Plaintiff’s and other Class members’ property without providing the
               services that the tuition and Mandatory Fees were intended to cover;

       c.      Whether Defendants afforded Plaintiff and the other Class members notice and due
               process before seizing and retaining their property; and

       d.      The amount of damages and other relief to be awarded to Plaintiff and the other
               Class members.

       58.     Rule 23(a)(3)—Typicality. The requirements of Rule 23(a)(3) have been met.

Plaintiff’s claims are typical of the claims of the members of the Class, because Plaintiff and the

other Class members each paid tuition and Mandatory Fees associated with the Spring 2020

semester and any of the Summer 2020 semesters at the Universities but were not provided the

education and services that those costs were meant to cover. Each suffered damages in the form of

their lost tuition and Mandatory Fees paid to the Universities, and the claims all arise from

Defendants’ practices and course of conduct.

       59.     Rule 23(a)(4)—Adequacy. The requirements of Rule 23(a)(4) have been met.

Plaintiff is an adequate class representative because his interests do not conflict with the interests

of the other Class members who he seeks to represent, Plaintiff has retained competent counsel

who are experienced in complex class action litigation, and Plaintiff intends to prosecute this action

vigorously. Class members’ interests will be fairly and adequately protected by Plaintiff and his

counsel.



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       60.     Rule 23(b)(3)—Predominance and Superiority. Class certification of Plaintiff’s

claims is also appropriate pursuant to Rule 23(b)(3) because the above questions of law and fact

that are common to the Class predominate over questions affecting only individual members of

the Class, and because a class action is superior to other available methods for the fair and efficient

adjudication of this litigation. The damages or financial detriment suffered by individual Class

members are relatively small compared to the burden and expense of individual litigation of their

claims against Defendants. It would, thus, be virtually impossible for the Class, on an individual

basis, to obtain effective redress for the wrongs committed against them.                Furthermore,

individualized litigation would create the danger of inconsistent or contradictory judgments arising

from the same set of facts. Individualized litigation would also increase the delay and expense to

all parties and the court system from the issues raised by this action. By contrast, the class action

device provides the benefits of adjudication of these issues in a single proceeding, economies of

scale, and comprehensive supervision by a single court, and presents no unusual management

difficulties under the circumstances.

                              VI.       FIRST CLAIM FOR RELIEF

               VIOLATION OF THE TAKINGS CLAUSE—42 U.S.C. § 1983
                        (On Behalf of Plaintiff and the Class)

       61.     Plaintiff repeats and re-alleges paragraphs 1-60 above, as if fully alleged herein.

       62.     Plaintiff brings this claim individually and on behalf of the members of the Class.

       63.     The Takings Clause of the Fifth Amendment provides that private property shall

not “be taken for public use, without just compensation.” U.S. CONST. AMEND. V. The takings

clause is made applicable to the states through the Fourteenth Amendment. See U.S. CONST.

AMEND XIV; Murr v. Wisconsin, 137 S. Ct. 1933, 1942, 198 L. Ed. 2d 497 (2017) (citing Chicago,

B. & Q.R. Co. v. Chicago, 166 U.S. 226, 17 S.Ct. 581, 41 L.Ed. 979 (1897)). Similarly, Article I,



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§ 17 of the Texas Constitution provides that private property shall not be taken or applied “for

public use without adequate compensation being made.” TEX. CONST.          ART.   I, § 17. Thus, the

Takings Clause of the U.S. and Texas constitutions prohibits states, and state agencies like the

A&M System, from taking private property for public use without just compensation.

       64.     Takings claims may properly be brought against state agencies (such as the A&M

System) and against persons in their official capacities (such as the individual defendants) and are

not barred by sovereign immunity. McCullough v. Johnson, 7:05-CV-058R, 2007 WL 3406753,

at *6 (N.D. Tex. Nov. 14, 2007); Gen. Services Comm'n v. Little-Tex Insulation Co., Inc., 39

S.W.3d 591, 598 (Tex. 2001) (holding that sovereign immunity “does not shield the State from an

action for compensation under the takings clause” of the Texas Constitution); T. O. F. C., Inc. v.

U. S., 683 F.2d 389, 393 (Ct. Cl. 1982) (holding that “the fifth amendment is an express waiver of

sovereign immunity”).

       65.     Common law has recognized that there is a property right by an owner in funds held

in an account managed by another. See, e.g., Wisconsin Med. Soc'y, Inc. v. Morgan, 2010 WI 94,

¶ 77, 328 Wis. 2d 469, 507, 787 N.W.2d 22, 41 (holding that health care providers have a protected

property interest in the Injured Patients and Families Compensation Fund, for which they are

assessed mandatory fees and receive a “paid-for benefit” in the form of a license to practice

medicine in Wisconsin). The Fifth Circuit has held that “a public entity could hold private funds”

and that a court “must look both to the nature of the organization holding the funds and to the

nature of the funds claimed by the State to determine whether the funds are private or public

property.” Mississippi Surplus Lines Ass'n v. Mississippi, 261 Fed. Appx. 781, 785 (5th Cir. 2008).

Here, the Universities receive payments of tuition and Mandatory Fees from private citizens, as

consideration for the benefit of receiving in-person course instruction and other on-campus




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benefits—the funds are thus private in nature but held by a public entity. Plaintiff and the other

members of the Class have a protected property right in all sums they paid to the Universities.

       66.     Defendants violated the Takings Clause by failing to return to Plaintiff and the other

members of the Class that portion of the tuition and Mandatory Fees for which they received

nothing, or significantly less, than what they bargained for in return. Neither Plaintiff nor the other

Class members have made a knowing and voluntary waiver of their constitutional right under the

Fifth Amendment to be paid just compensation for the taking of their property right in those funds.

       67.     Thus, A&M Students are entitled to just and reasonable compensation for the taking

of their property.

                            VII.    SECOND CLAIM FOR RELIEF

                               DUE PROCESS—42 U.S.C. § 1983
                              (On Behalf of Plaintiff and the Class)

       68.     Plaintiff repeats and re-alleges paragraphs 1-60 above, as if fully alleged herein.

       69.     Plaintiff brings this claim individually and on behalf of the members of the Class.

       70.     Government actors must provide adequate due process procedures when depriving

citizens of protected property interests. U.S. CONST. AMEND. XIV; 1 TEX. CONST. ART. I, § 19.

       71.     The due process clauses of the U.S. and Texas constitutions prohibits the State of

Texas and the governmental agencies that it forms, such as the A&M System, from depriving

citizens of a protected property interest without due process of law.

       72.     Plaintiff and the Class members had a constitutionally protected property interest

in the tuition and Mandatory Fees they paid for in-person education and on-campus services and

opportunities but were denied due to the COVID-19 pandemic.




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        73.     Defendants took action affecting Plaintiff and the other Class members’

constitutionally protected property interest by retaining amounts from Plaintiff’s and the other

Class members’ payment of tuition and Mandatory Fees.

        74.     Defendants deprived Plaintiff and the other Class members of their protected

property interests without due process of law by, for example:

        a.      Failing to provide timely notice to Plaintiff and the other members of the Class,
                whose identity and contact information Defendants either knew, or by exercise or
                reasonable diligence should have known, of the refundable nature of the tuition and
                Mandatory Fees;

        b.      Failing to design and implement criteria by which the tuition and Mandatory Fees
                can be refunded to Plaintiff and the other members of the Class in light of the action
                by the Universities to cease or severely limit all on-campus, in-person classes and
                activities due to the COVID-19 pandemic; and

        c.      Failing to design and implement a mechanism by which Plaintiff and the other
                members of the Class can obtain a refund of the tuition in light of the action by the
                Universities to cease or severely limit all on-campus, in-person classes and
                activities due to the COVID-19 pandemic.

        75.     Defendant’s failure to comply with the requirements of due process has resulted in

substantial detriment to the Plaintiff and the Class.

                                     VIII.     JURY DEMAND

        76.     Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff Mazen Ali demands a

trial by jury of any and all issues in this action so triable of right.

                                    IX.      ATTORNEYS’ FEES

        77.     Plaintiff Mazen Ali, individually and on behalf of all similarly situated students,

seeks attorneys’ fees as permitted by law. FED. R. CIV. P. § 9(g), 54(d)(2).

                                    X.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Mazen Ali, individually and on behalf of the Class, respectfully

requests that the Court:



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      (a)    Enter an order certifying the Class under Rule 23 of the Federal Rules of Civil
             Procedure, naming Mr. Ali as representative of the Class, and appointing Plaintiff’s
             attorneys as Class counsel;

      (b)    Enter judgment in favor of Plaintiff and the Class on all counts asserted herein,
             awarding just compensation in an amount to be determined by the trier of fact,
             including but not limited to restitution and all other forms of equitable monetary
             relief;

      (c)    Award Plaintiff and the Class reasonable attorneys’ fees, costs, and expenses;

      (d)    Award pre- and post-judgment interest on any amounts awarded; and

      (e)    Award Plaintiff and the Class such other and further relief as they may justly be
             entitled.

Dated: August 18, 2020                     Respectfully submitted,

                                           s/ Gary F. Lynch

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                                           Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 18, 2020, I electronically filed the foregoing document with
the Clerk of Court using the CM/ECF system, which will send notification of such filing to the
following counsel of record:

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                                             /s/ Ann Stehling
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